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                           EXHIBIT A
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                                     Pumpers, Dumpers,
                                       and Shills: The
                                       Skycoin Saga
                             The cryptocurrency promised to change the world and make its
                                  users rich in the process. Then it began to fall apart.
                                                                By Morgen Peck
                                                                  August 18, 2021




                                           Illustration by Nata Metlukh




                                                    n an April afternoon in 2011,   a twenty-seven-year-old     tech entrepreneur

                                           O        named Bradford Stephens arrived at a stucco bungalow near the canals of
                                           Venice, California. He had recently started a new data-analytics company, and had
                                           come to speak with a coder named Brandon Smietana, whom he hoped would get
                                           involved. Stephens had already met Smietana online, where he uses the handle Synth,
                                           and where he often debated minute points about math and programming. When
                                           Stephens and Ryan Rawson, an employee who tagged along, arrived, Smietana
                                           invited them into a carpeted den. A computer sat on a table, its casings removed to
                                           reveal a tangle of circuits; a sleeping bag lay on a sofa. Smietana was in his early
                                           twenties, with dark hair and a youthful face. Rawson told me, “He had the air of this
                                           mad scientist couch surfing.” Stephens pitched his new company, but got no traction.
                                           Smietana had turned his attention to a new technology: cryptocurrency. “The only
                                           people who have to work for money are the people who cannot create it or print it
                                           out of thin air,” he told them.


                                           The first cryptocurrency, Bitcoin—released in 2009 by an anonymous programmer
                                           (or a group of them) called Satoshi Nakamoto—was          a feat   of computational
                                           brilliance. A bitcoin is an abstract unit of value that people track and spend with
                                           digital wallets. When someone contributes her computer’s power to process Bitcoin
                                           transactions, the computer also races to solve an equation, a process called “mining.”
                                           Each solution that meets certain criteria mints new coins. The number created
                                           decreases by half every four years or so—an event known as the Halvening—which
                                           keeps the supply limited, guarding against inflation. The whole economy          is

                                           maintained on a blockchain, a shared ledger that keeps a tally of every Bitcoin
                                           transaction. As miners add transactions, the Bitcoin software coördinates and
                                           finalizes their contributions, making the ledger transparent and unchangeable and the
                                           system nearly impossible for governments to shut down.
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But the technology has a flaw: as more people use it, transactions become slower and
more expensive. The average transaction fee fluctuates wildly; one day last week, it
was two dollars and thirty-three cents, making it more expensive than any major
credit card for everyday purchases. The pursuit of a better Bitcoin quickly became a
full-blown academic field, with its own conferences, university courses, and peer-
reviewed journals. But, as Smietana explained over the next few years to anyone who
would listen, he had the solution. He was designing a cryptocurrency that could be
sent around the world instantaneously, for next to nothing. He called it Skycoin.

He was going to use this currency, he said, to create a decentralized version of the
Internet, called Skywire. He planned to build a large mesh network, a system that
allows people to use special Internet routers to share bandwidth with their neighbors.
With enough members,              a network      can bypass service providers, making                 it harder    for
corporations and governments to surveil Internet use. But it’s difficult to retain
volunteers. “A community network really needs density before it is useful,” Brian Hall,
of NYC Mesh, the largest community network in the U.S., wrote in a blog post. “It
can be a chicken and egg problem.” Smietana’s project proposed                             a   different way to
attract people: pay them. His customers would share bandwidth using routers called
Skyminers, and get paid for their service in Skycoin. He envisioned a new
cryptocurrency spent over a community-owned Internet, calling it “the last step to
fulfilling Satoshi’s mission.”

Stephens left his first meeting with Smietana believing that he could be destined for
greatness. Skycoin launched publicly two years later, in 2013. The following year,
Stephens attended a party at Smietana’s new place, an unrenovated warehouse just
south of L.A. Someone had painted the walls with images of horned monsters. “It
was very Burning Man meets H. P. Lovecraft,” Stephens told me. Stephens’s friend
Baron Chat, a photographer who attended, said, of Smietana, “He seemed to be
receiving his signal from a different station than everyone else.” According to
Stephens, Smietana asked him to join the fledgling project, but he demurred.
(Smietana said he doesn’t remember seeing Stephens at the party.)

The first cryptocurrency boom arrived in 2017. “Several investors I knew, and a lot of
my friends, started pivoting from angel investing to putting money in crypto and
seeing insane returns,” Stephens told me. Skycoin had a “token sale”—a sort of I.P.O.
for cryptocurrencies—and was listed on two small exchanges. By the end of 2017, its
price had gone from a little more than a dollar per coin to about fifty dollars per coin.
That December, while Stephens was on vacation with his wife in Japan, Smietana
messaged him with another chance to get involved. It seemed like an opportunity to
work on something revolutionary. But he also thought, Everybody else is getting rich
off crypto, so why not me? He said that he later told Smietana, “I’m going to need
50K up front and I gotta hire a team.” After a couple days, he checked his Bitcoin
wallet and found fifty thousand dollars sitting in it. “I’m, like, ‘I guess I’m hired,’ ” he
said. (Smietana denies sending the money, though he had said he would do so in
texts, and there’s a record of such a transaction on the Bitcoin ledger.) Before leaving
Kyoto, he and his wife had visited a shrine to Inari, the Shinto god of rice, where they
left offerings and made wishes. His wife wished for the health of her father, who was
battling cancer. “I asked for wealth and adventure,” Stephens told me. “And I got one
of those.”


    n the past decade, a shift has occurred in the way that cryptocurrencies are

I distributed. Satoshi put bitcoins into circulation through                         a reward     system: the
more computing power you contribute, the more coins you can mint. Some early
adopters paid their rent simply through mining. Around 2012, though, people began
devising blockchains that could be used for more ambitious applications: supply
chains with real-time geolocation, for example, or patient-controlled medical records.
Such projects required capital, compelling founders to experiment with less
democratic ways to distribute coins. In 2013, J. R. Willett, the founder of Mastercoin,
invented the “initial coin offering,” or I.C.O., the first token sale: developers partially
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pre-mined their tokens and then sold them off to raise money. Michael Terpin, who
has managed two hundred such token sales, and who handled public relations for
Skycoin, told me that the scheme empowers entrepreneurs. “Somebody who had an
innovative product could sell directly, prior to it being built, to an audience of
enthusiasts,” he said, without having to “give up a third of the company.”


A frenzy followed a few years later. Since 2017, hundreds of projects have announced
token sales. One of the most lucrative, EOS raised about three and a half billion
                                              ,



dollars in a yearlong I.C.O. Many projects amassed funds even before their
blockchains or applications existed; some prepared assiduously, but others merely
threw together a Web site, a list of advisers (sometimes without their knowledge),
and some semblance of a technical paper (sometimes plagiarized). “A playbook really
emerged for how to set up a legitimate-looking I.C.O.,” Matt Chwierut, the head of
research at Smith & Crown,     a blockchain   research firm, told me.

In 2018, I attended the North American Bitcoin Conference, in Miami. On the main
stage, representatives from companies with unpronounceable names riled up the
crowds. Downstairs, an arcade of booths hawked every kind of blockchain project:
smart glasses, cargo robots, refugee-identity documents. At a booth for a group
claiming to build a volunteer emergency-services network,       I asked   why the endeavor
required a coin. The attendant told me to come back later when someone more
technical would be arriving.

Because bitcoin mining is regulated by algorithms, everyone, in theory, has a fair
chance of getting new coins. But, to receive pre-mined coins in a token sale, you often
have to buy publicly at the sale price or else negotiate a deal behind the scenes. “A lot
of coins were being sold on the side and in secret,” Josh, a major cryptocurrency
investor—who eventually bought into Skycoin, and requested that I use only his first
name, out of concern for his safety regarding another matter—told me. “You’ll do
special deals with people if they give you three or four or five million dollars up
front.” This created a sense that making your fortune required being in the right
room to get the right tip.

                                  Video From The New Yorker

                         Surfing on Kelly Slater’s Machine-Made Wave




On the second night of the conference, I went to a strip club for an after-party, where
flashing your badge got you a crypto-inspired cocktail. (I ordered a Satoshi Sour.)
Guests exchanged advice, sure that they were getting the best inside information. But
a few   hours later a friend whisked me off to a more exclusive party, thrown at a
beachside bar by Patrick Byrne, the former C.E.O. of Overstock. (Byrne stepped
down in 2019, after it was revealed that he had had an affair with the Russian agent
Maria Butina.) The attendees were celebrating the hundred-million-dollar token sale
of Byrne’s trading platform, TZero, which he said was going to “drag Wall Street
behind the barn, kill it with an axe, and re-create it on blockchain.” There were giant
platters of sushi and oysters; the rapper Flo Rida pulled Byrne up onto the bar for a
sing-along. Guests exchanged invites to exclusive chat rooms on Telegram, an app
favored by coin enthusiasts. I turned to a man next to me and asked what had
brought him to the party. He rubbed his thumb and forefinger together and shouted,
“Making money.”


        he employment structure at Skycoin was loose, and Stephens joined without         a

T       contract. “Here I was, a guy used to wrangling hundred-page venture-capital
contracts, and I’m joining a company with no last names and barely any first names,”
Stephens said. Smietana, who by then was living in Shanghai, had pre-mined a
hundred million coins, which were scheduled for circulation. Skyminer routers were
just starting to ship, but sales had already outstripped production. Smietana estimated
that operators who used Skyminers could make between fifteen thousand and forty-
five thousand dollars a month. Most coinholders I spoke to were young men around
the world—medical students, craftsmen, 3-D animators—who believed in the
project. In chat rooms, Smietana’s followers addressed him with reverence. “We all are
in honor to speak with synth,” a user called Anosis wrote. “It’s like having a chance to
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talk to Satoshi.”


Although Stephens studied computer science in college, he admitted that, when he
started working with Skycoin, he “hardly knew anything about crypto.” He was told
to handle marketing, and assembled a team composed mostly of friends and former
associates. (Smietana now claims that he contracted a marketing company that
Stephens ran, not Stephens himself.) But he soon realized that word about the
project was already spreading. Large investors recruited in their own circles, and
smaller coinholders hyped Skycoin on social media. At one point, Skycoin advertised
a bounty    program that promised users coins in exchange for promotional activities,
such as writing blog posts and creating YouTube videos. One user-made video, titled
“Skycoin - To the Moon,” featured footage of a shuttle blasting off next to a chart of
Skycoin’s market value, interspersed with a closeup of glossy lips and the words
“YOU COMIN’?” People who proved their worth on Telegram often got pulled up
the ranks. “I started to spend 90 hours a week in the chat room,” a user called Sudo,
who became one of Skycoin’s Telegram channel moderators, and who refused to tell
me his name, messaged me. “They seen how active I was and offered me a job.”

By early January, 2018, the total estimated value of pre-mined Skycoins had reached
almost five billion dollars. Smietana sent representatives to conferences in New York,
Lisbon, San Francisco, and Singapore, and arranged a retreat in Mauritius. A former
marketing contractor, who requested anonymity out of fear of harassment, recalled
that Smietana could spend lavishly on the people who worked with Skycoin, in one
case paying for cryotherapy, vitamin injections, thousand-dollar steak dinners, and a
twelve-thousand-dollar trip to the Esalen Institute. “Dude was very liberal with his
spending and could be very generous,” the marketing contractor said. The team
posted a video of a yacht party, and thundered around in Ferraris. In New York,
Skycoin reps cruised in a helicopter to grab footage of a Skyminer held over
Manhattan’s skyline.

That month, Stephens flew to Las Vegas to speak on a panel at the CoinAgenda
summit. He wasn’t up to speed on the technical aspects of Skycoin yet, but he held a
Skyminer over his head and said, “You all are the first to see the new Internet!” On
the first day of the conference, Smietana sent Stephens a voice memo with an urgent
request. He was hoping to get Skycoin listed on Binance, one of the world’s largest
cryptocurrency exchanges, which could help secure its legitimacy. During the I.C.O.
boom, it was common for projects to pay a “listing fee” in order to be included on an
exchange. (Binance claims that it chooses projects based solely on “strict security,
legal, and regulatory compliance standards.” In 2018, facing pressure, it announced
that it would donate its listing fees to charity.) Smietana said that he had paid
Binance executives seven and a half million dollars but that they hadn’t followed
through. (Binance confirmed that Skycoin paid it a hundred and fifty thousand
Skycoins to spend on “promotion,” which were worth seven and a half million at the
coin’s peak.) Smietana told Stephens to entertain the executives, to sweeten the deal.
Stephens planned a party in a penthouse suite at the Bellagio. Smietana gave explicit
instructions via voice messages: “You have to buy prostitutes for the people at
Binance,” he said. “Get them, like, three girls each.” (Smietana denies any
involvement in the party, and claims that his voice messages about it were “either a
joke or a deep fake but probably a deep fake.”)

That night, Stephens and Baron Chat, who had also started working on Skycoin’s
marketing, along with Catherine Byerly, another member of the team, sat in the hotel
suite, with champagne on ice. Six escorts arrived at nine, and the employees
instructed them to make the Binance executives feel like “rock stars.” “To them, I was
this, like, stereotypical businesswoman in an Ann Taylor dress,” Byerly said. “But
inside I’m thinking, How did my decisions lead me here?” Chat said, “It felt almost
like you were in the process of living out some bizarre reality that sometimes you see
in the movies. The weird excess . . Crazy shit happens when you have a corporate
                                       .



account and a green light.” By ten o’clock, the executives hadn’t shown up, and
Stephens began to worry that he’d lost the deal. He couldn’t reach Smietana, so he
frantically called the event organizers. They explained that not only had no Binance
reps showed up at the conference—they weren’t even on the registration list. (A
spokesperson at Binance told me that the company neither requested nor knew about
the party.) “That’s when   I started   taking anything Brandon said with a grain of salt,”
Stephens told me. Still, he decided that, “if this is going to be weird, I’m going to
make it memorable weird.” Some of the escorts took their pay and left; the rest drank
champagne and played Cards Against Humanity with the group into the morning.


           hen Stephens returned from Las Vegas, he set about mapping Skycoin’s

W          progress. One of the company’s main selling points was Obelisk, an algorithm
that allowed it to send coins cheaply and quickly. On Telegram, Smietana insisted
that everything that came before was “obsolete and primitive.” He boasted that
Obelisk was written by Houwu Chen, a developer who had worked on Ethereum, the
second-most popular cryptocurrency platform. He posted an academic paper written
by Chen on the Skycoin Web site, claiming that it was a Skycoin white paper. But
when Stephens reached out to Chen, he got no response. “We kept trying to chase
people down to ask details, and it was slowly revealed it just . . didn’t exist,” he told
                                                                      .
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me. In a later discussion about technical details, a Skycoin “community manager” told
coinholders that “it’s too advanced to share” and that the company “can’t trust the
public with it.” When pressed, Smietana wrote, of Chen, “He is a recluse, I doubt
anyone can contact him or he would respond.” Smietana eventually told me that
Chen had taken a payment of a million Skycoins for his work on the white paper and
then left the project. (Chen declined to comment, saying, “Just don’t put my name in
the article. That’s my statement.”) Stephens discovered that Obelisk had never been
implemented. (Smietana now acknowledges this, but claims that the project has
published some of Obelisk’s code and used it in simulations.)


Skycoin’s payments were fast, but only because transactions were processed on a
single server, rather than on a decentralized network of computers. The server sat in
the Shanghai office of Scott Freeman, the C.E.O. of the C2CX cryptocurrency
exchange. This also meant that, if Smietana wanted to, he could freeze transactions.
“The big thing about a blockchain is it’s supposed to be decentralized, and no single
entity is supposed to be able to change    it,” Freeman   told me. He added, of Skycoin’s
setup, “In a way, it makes you into a fraud.” (Smietana claims that his power to freeze
transactions was designed as a security measure.) Freeman said that he nagged
Smietana about implementing Obelisk but that Smietana told him, “People don’t
really care. It’s not worth it. We should spend our resources on other things.”
(Smietana denies this.)

Skycoin’s Web site claimed that multiple payments were scrambled together to
provide extra privacy, but this feature was never implemented in the Skycoin wallet.
The pre-mined coins sat in virtual wallets under Smietana’s sole control. (When
pressed, Smietana claimed that he shared control of the coins with a secret group of
advisers, but refused to give me their names.) When Stephens asked to see Skycoin’s
accounting books, Smietana explained that his girlfriend, Sarah, was in charge. Sarah
told Stephens that the accounting was a work in progress. (Smietana denies directing
Stephens to Sarah, and she denies being in charge of the project’s accounting.)
Everything seemed haphazard. Stephens was once paid from a bank account in
Mauritius registered under a different name; many employees were paid in bitcoin or
Skycoin.

In early February, 2018,   a month   after the CoinAgenda conference, Stephens booked
a trip   to Shanghai to see Smietana, determined to bring some order to Skycoin. One
night, he had dinner with Smietana and members of a Chinese marketing team that
Smietana had hired, at a steak house in Xuhui. As the dinner began, Smietana rose
from his chair and launched into a rambling diatribe of conspiracy theories. For
hours, he catalogued the hidden crimes of a class of global élites who controlled
citizens through virtual reality, medical marijuana, and pornography. At some point,
Stephens started recording Smietana on his phone. “We want to feminize the peasant
population to make them more docile,” Smietana says. “It’s so they don’t revolt.”


                                                                          Advertisement




Stephens told me, “I just became shell-shocked. What the fuck have I gotten myself
into?” He had seen Smietana post conspiracy theories on Telegram before, but he
figured it was a joke. In the weeks after the dinner, Stephens tried to warn some
investors, but felt that they brushed him off: “They would be, like, ‘Brandon        is just

doing his thing, and the value of the coin keeps going up.’ ”


     hortly after Stephens returned from Shanghai, a reporter named Tristan Greene

S    published a scathing article about Skycoin on the Next Web, a technology-news
Web site, condemning the company for pre-mining its coins. The Skyminer router
was being sold for one bitcoin—worth about ten thousand dollars at the time—but
Greene highlighted the fact that it was constructed from components worth about six
hundred dollars. Customers got back the ninety-four-hundred-dollar difference, but
it came    in Skycoin, which still sold only on small exchanges, making     it difficult   to
trade in quantity. (The software for the miners was also incomplete; users connecting
to Skywire had no way to pay for the service. Smietana claims that this feature is still
under development.) Stephens granted Greene an interview but couldn’t persuade
him of the project’s legitimacy. Greene wrote, “Is it a scam? I’m 99 percent sure of it.”


Skycoin went into full damage-control mode. The project had been running a black-
ops marketing unit sometimes referred to as Shill Team Six, composed of users
plucked from Telegram who specialized in manipulating attention on the Internet.
The “shills” occasionally flooded 4chan and Reddit, keeping engagement up with
memes and bots. A former member of Skycoin’s inner circle, who also requested
anonymity, told me that if someone spoke ill of Skycoin the shills could be sent in to
“make their life difficult,” by digging up embarrassing information. (Smietana denied
directing the group, saying it was “completely out of control.”) The shills found that
even bad publicity could be good for Skycoin. In a chat with investors, Smietana said
that they sometimes spread negative rumors about Skycoin, in order to attract
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attention. “Direct promotion does not get to front page and has low click rate,” he
wrote. “If they create contraversy, then it directs attention and clicks to skycoin.”
(Smietana claimed that these messages were taken out of context.)

Stephens knew that Smietana pored over texts about crowd psychology and even
solicited advice from DJ Hives, an anonymous online personality who at one point
used a Hitler avatar, on controlling public opinion. In voice messages, DJ Hives
referred to Skycoin customers as “fish,” a poker term for easily exploited players, and
encouraged Smietana to cultivate an aura of infallibility: “We want to put you on the
level of deity as far as the masses are concerned.” (When contacted on Telegram, DJ
Hives said, “None of this is correct,” and declined to comment further.)

The team gamed search algorithms into ignoring Greene’s article. “We helped bury
that page for a while,” Sudo, the anonymous user, who claimed to be part of Shill
Team Six, messaged me on Telegram. (Smietana claimed that Skycoin ignored the
article.) But word was already spreading. Skeptics showed up in Skycoin’s social-
media channels to ask questions, and Skycoin moderators started blocking them.
“After banning enough losers, everyone left will be winners,” Smietana wrote. Skycoin
enthusiasts smeared Greene on Telegram, accusing him of writing a paid hit piece.
When Greene showed up in the channel to address their concerns, moderators
kicked him out. Someone claiming to be a Skycoin investor e-mailed Greene and
threatened to “visit” him, his wife, and their son if he didn’t stop “messing” with
Skycoin, writing, “nothing is really impossible in the world for people like us that
grew theire wealth on crypto.”

Stephens contacted Michael Terpin, the adviser, to voice his worries, but, he said, “It
turns out Terpin didn’t give a shit.” (Terpin told me that, by this time, his company
was phasing out its involvement with Skycoin. “Brandon’s got a flair for the
dramatic,” he said. “Honestly, that’s one reason I found it difficult to keep working
with Skycoin.”) Stephens came up with a plan to strip Smietana of power and
transfer management of the company to a foundation; he still believed that Skycoin
could become       a reality if reasonable        people were in charge. But, by late February,
2018, six weeks after he joined the project, he found that he was locked out of both
the Skycoin Telegram and his work e-mail. Members of his team were locked out,
too. “The whole thing was so terrible,” Chat, from the marketing team, told me.
Smietana sent an e-mail to the Next Web denying that Stephens represented
Skycoin. “The person you interviewed has nothing to do with Skycoin and is a
known scammer,” Smietana wrote. “Please update the article.” Stephens heard from
Smietana again in June, 2018, when Smietana sent him a mysterious Facebook
message in which he claimed that he had acted out of concern for Stephens’s safety. “I
saved your life. You do not even know,” Smietana wrote. “I will tell you in a few
years.”


   n July, 2018,       a recording       leaked of Li Xiaolai, a Chinese billionaire and the

I founder of coin that launched with an eighty-two-million-dollar token sale,
                   a

giving his unfiltered perspective on the industry. “From the start, I knew one thing,”
he said. “The main power to compete here is the traffic.” Successful coins accrue
value, in other words, not because of technical sophistication but because they get
people’s attention. This requires having a founder who can capture the imagination.
“All the successful 100X, 1000X projects—you go and look at the founder, they will
definitely be a spin doctor,” he said. What matters with a coin is that people are
talking about it. “The consensus of idiots is still consensus,” he said.


To some extent, this is true of most modern currencies: they have no value apart from
what we collectively assign them. But the U.S. dollar is supported by government
guarantees and controlled through monetary policies. Bitcoin abolished government
backing, but its scarcity is regulated through algorithms. (Even so, a tweet or
statement from a high-profile coinholder like Elon Musk can raise or crash its price.)
Coins that are manually distributed in token sales provide even fewer assurances. It is
often impossible to know how many are in circulation. Their value is built on a
promise that some feature, often still in development, will make them more useful
than other currencies. Until that promise is fulfilled, it is largely a matter of faith.
“Money      is a social    construct,” Smietana wrote, on Telegram. “It is based upon
CONFIDENCE                . .   .   Confidence is a religion and is built upon perception and not
reality.”

Founders that control perception control the price of their coin. According to
Chwierut, the blockchain researcher, during the I.C.O. bubble, it was not uncommon
for founders to spend as much as thirty per cent of their budget on ad campaigns.
Some of the effort went to gaming the attention economy, requesting mentions from
influencers or using bots to create an illusion of broad support. Traders can even use
these metrics to manage their portfolios: IntoTheBlock,                 a “crypto-intelligence”   firm,
tracks Twitter mentions and Telegram-member counts and sells the information to
investors; a data platform called Santiment alerts users when chatter about their coins
surges. Recommendation algorithms can encourage the spread of incendiary content,
and coins promoted with controversy and falsehood often perform well. Some coin
promoters use stunts or scandals to keep users engaged. After closing a fifty-million-
dollar token sale, the founder of a cryptocurrency called Savedroid posted a picture of
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himself at what looked like an airport with a caption reading “Thanks guys! Over and
out,” which was taken as a confession that he was running off with the funds. A day
later, he revealed that he was trolling about escaping with the money, but only after
several articles had been written about the scandal. The firm ASKfm hired
mountaineers to climb Mt. Everest and film themselves leaving a cryptocurrency
wallet on its peak. (The company released a statement saying, “On         a market   where
launching a blockchain endeavor is not really a newsbreak, companies have to stand
out.”) A sherpa died in the process.

Market manipulation is rampant. In schemes called “pump and dumps,” traders meet
in exclusive chat rooms where they coördinate to purchase a coin, causing the trading
volume to go up and others to take interest. When the price is at its highest, the
pump-and-dumpers sell, leaving faithful users holding the bag. In an industry where
everyone is a coinholder, there is no one left to pull the alarm. Should investors
realize that their coin is a sham, it would be an act of self-sabotage to raise concerns.
Better to become evangelists, wooing others in order to boost the price.

U.S. law generally requires projects to register with the S.E.C., forcing them to make
financial disclosures that investors could then inspect before buying. Almost none do,
giving convoluted rationales that John Reed Stark, the founder of the S.E.C.’s
Internet-enforcement office, told me are “poppycock.” Not registering can facilitate
further rule-breaking, as when, say, influencers promote coins without disclosing their
investment, or projects pump coins with fraudulent claims. Stark said, of I.C.O.s,
“Every single one I ever saw was unlawful on multiple levels.” The S.E.C. began
cracking down in 2017, but prosecution often requires “extraordinary resources from
an alphabet soup of federal and state law-enforcement agencies,” Stark said. As a
result, few projects face consequences.


   n the spring of 2018, Skycoin climbed into the list of the top hundred coins, and

I appeared on Nasdaq Web cast. That May, Binance announced that
                   a                                                            it would   list
Skycoin on its trading platform. Around the time of the listing, the price jumped
thirty-eight per cent. Then, suddenly, it came crashing down. According to several
people involved, Skycoin privately sold to investors at a steep discount—in at least
one case, coins worth millions of dollars—inadvertently giving them an incentive to
dump   it on   the market as soon as they could. (Smietana denied being involved in
such sales.) Smietana had claimed on Telegram that the investors were restricted
from selling. But, as soon as Binance listed Skycoin, the market flooded with sell
orders. Freeman, from the C2CX exchange, had been acting as the project’s primary
“market maker,” using a pool of reserves to provide market liquidity and stabilize
prices. “I tried to hold at about twenty,” he told me. But the sell-off was too much to
contain. Coinholders shared their misery on Telegram. “Its been fun guys, i’m gonns
hang myself in 2 hours,” a user named Willy Jr. wrote. “Bought 20K at 20 dollars.” A
user named Dante wrote, “synth told me this shit would moon,” adding, “i took a
mortage on my house.”


A few weeks into the sell-off, a voice message from Smietana emerged on Telegram
that seemed to imply that the biggest Skycoin investors were coördinating their
moves in a secret chat room. Smietana said in the message, of the investors,
“Everyone was basically doing the exact opposite of whatever the public was doing.”
(Smietana acknowledged being in the chat room at one point but claimed that he
was barely involved.) Rumor spread that the S.E.C. would investigate Skycoin as a
result, and that Binance was considering delisting it. In the public chat, coinholders
prepared for a death spiral. A user called Opaque wrote, “I want to say calm down
guys, but its really doesnt look good.”

Then, out of nowhere, Smietana announced that he had big news to share once “all
the staff are safe.” In the coming days, he accused members of the Chinese marketing
team of breaking into his house with five gang members, holding him and his
girlfriend hostage for six hours, beating him until one of his ribs broke, and stealing a
small quantity of cryptocurrency. Members of the Chinese marketing team denied
this. In a letter to investors, they claimed that Smietana and his girlfriend had pushed
them out, refused to pay them, and frozen their Skycoin wallets, which contained
coins that were then worth somewhere between four and nine million dollars. This
was the first apparent instance of Smietana’s using his power to freeze Skycoin
transactions. (Smietana claims that the wallets contained embezzled company funds.)
In their letter, the marketing-team members claimed that they had been invited to
Smietana’s apartment to find a resolution, and a small scuffle broke out in which he
got a bruised wrist. Afterward, Smietana’s girlfriend filed a police report, and four
defendants spent a few months in detention, after admitting to detaining Smietana
and his girlfriend in an incident that left them “lightly” injured.

Smietana blitzed Telegram with messages about the alleged “kidnapping.” “This is
the best thing that has ever happened to Skycoin. Ever...As long as we can keep this
drama going, we can get [the trading volume] even higher.” He amused himself by
plotting new distractions: “Quick, someone photoshop video of me being beheaded
by ISIS and see if you can get them to write an article about it.” But coinholders
seemed not to buy it. When he did a live YouTube interview, shortly after the
incident, someone commented, “I dont see one bruise on his face. beaten the shit out
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of me, what with ? a piece of toast.?” As the sell-off continued, Smietana blamed       it on

the “kidnappers” for dumping their stolen coins. “They have been surpressing the
price the whole time,” he wrote.

In November, 2018, Smietana, apparently growing desperate, enlisted John McAfee
to promote the coin. McAfee once famous for the antivirus software that he
                               ,



developed in the eighties, had earned a reputation as a kind of cyber outlaw: he was a
“person of interest” in a murder in Belize, in 2012, and subsequently fled the country,
later posting images of himself cruising the Caribbean in his yacht, brandishing guns.
He was a sought-after crypto promoter. McAfee tweeted a video that seemed to
show him with the Skycoin logo freshly tattooed on his back and the message, “Why
Skycoin? If you have to ask, you’ve been living in a fucking closet.” (Smietana
admitted to paying McAfee during this period but insisted that it was a gift to help
with “yacht repairs.”) Smietana urged people to buy: “If you put in a million dollars
now, and we have a run just as large as the last one, you’re going to be at fifty million
dollars,” he said, in a video. Then, in March, 2019, McAfee publicly broke ties with
Skycoin. (Smietana told me that McAfee began demanding large fees that he refused
to pay.) When asked on Twitter what he would do about the tattoo, McAfee replied,
“I’ll keep it as a reminder that no matter how old I get, I still get scammed by
unscrupulous people with pie in the sky plans. They almost drove me to violence.”


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Stephens, watching from afar, felt that he had been spared the worst. He hadn’t
behaved perfectly: he had been taken in by Skycoin’s promise, but he also promoted a
coin that he knew little about. After being cut off, he took Skycoin’s social-media
accounts hostage, and unsuccessfully demanded      a severance   payment. In the end, he
told me, he sold his holdings for thirty thousand dollars. The internal drama and
crashing prices prompted   a broader   exodus from the project. In 2019, Freeman’s
exchange announced that it was delisting Skycoin. Michael Terpin’s name still
appears on the Skycoin Web site, but he told me that he no longer has anything to do
with it. Josh, the cryptocurrency investor, lost faith after visiting Smietana in China,
last year. “Crypto is a bunch of con artists conning each other,” he said. “Obelisk was
always a week away, and it still is.” He sold his holdings and told me that he lost
ninety-nine per cent of his investment.

Investors who sold at the peak would have made large profits, but many average
coinholders suffered. (Smietana claimed that he urged restraint: “I told people not to
put money into the market that they were not prepared to lose.”) Armon Koochek,             a

recent college graduate in Santa Barbara, California, invested in Skycoin in 2018,
lured by the promise of a new Internet and excited by the “memes and content on
Reddit and Twitter.” He lost some fifteen thousand dollars. He tried to warn others
away from the project in the Telegram chat room, and was soon banned. “I hope I
saved a lot of investors,” he told me. Dael Lithgow, a forty-five-year-old bootmaker in
Pietermaritzburg, South Africa, invested most of his savings in Skycoin in 2017, and
convinced his mother and girlfriend to invest, as well. Had they sold during the
boom, the profits would have been “life-changing,” but they held on. “I really believed
in what they were trying to do,” he told me. Today their coins are nearly worthless.


   n the summer of 2019, I met Smietana at a mozzarella bar in Manhattan. He was

I wearing all black, and his hair was starting to gray. As we sat, he warned me,
unprompted, “Honestly, like, ninety-eight per cent of the people are scammers in
blockchain.” Then, preëmpting my questions, he visited every bit of Skycoin intrigue.
The “gang members” who kidnapped him in China had demanded “sixty million
dollars.” The technology for Skywire, the decentralized Internet service, was already
“working” and Obelisk was just “a few months” out. His girlfriend, Sarah, called
several times while we were speaking. He showed me frantic messages from her, and
said that he was blowing off an important meeting, but he kept talking, telling me
about his coin’s promise. He seemed to regard me as the next potential pump.


Almost four hours into my lunch, I made an excuse to leave, saying that I needed to
walk to my bank. Smietana followed along for almost thirty blocks, ranting about his
court case in China. Eventually, I brought him to Times Square, where his girlfriend
was waiting. She must have seen something in my eyes, and said, “He’s a mad
scientist.” After New York, they were headed to the Caribbean, where they would see
Terpin and check out the crypto scene. They invited me to join. In the months that
followed, Skycoin’s price dropped below a dollar a coin, but Smietana remained
optimistic. He told me, on Telegram, that he had a new hardware lab where he was
developing antennae for the Skyminer, and said that Skycoin was moving into the
medical industry, agricultural automation, and underground mining.

When   I confronted   Smietana about Skycoin’s history, he began sending me dozens of
voice messages a day, spinning elaborate stories that often contradicted one another.
Many could be corroborated only by people whom he swore existed but who couldn’t
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talk because they had government security clearance, or were in hiding, or because he
didn’t know their real names. He attacked those who spoke ill of Skycoin, calling
them criminals, junkies, and blackmailers. He claimed at first that he didn’t know
Stephens (“I contacted advisor board and no one involved in Skycoin has heard of
Bradford”), then that he was a “con artist,” then that he was a “federal
informant/agent” trying to entrap him. At one point, Smietana even suggested that
he wasn’t the real founder of Skycoin. I began to feel dizzy reporting this story, trying
to sort through the layers of deception and to figure out whom            I could   trust.
Everyone seemed to think that they could spin what I wrote to their advantage.

Smietana continues to post in the Telegram chat room, assuring loyal coinholders
that the features they’ve waited years for are almost complete. “In that Telegram
group, he is king,” the former member of Skycoin’s inner circle told me. Former
employees remain divided about Smietana’s motives. “It’s almost as if he viewed
Skycoin as a money printer,” the former marketing contractor told me. “Everything
that happened was a distraction or ruse to keep people in the dark while he kept his
shit-coin casino operating.” It’s impossible to know how much Smietana made on the
currency. (“Overall, I would say, I did ok,” Smietana wrote to me.) But other founders
have pulled “exit scams,” dumping all of their coins at the market’s height and
disappearing entirely, which Smietana never did. One of Skycoin’s lead software
developers—who was also Smietana’s friend from college, and who requested
anonymity out of fear of harassment—doesn’t think Smietana was in it to get rich:
“Being a figurehead in blockchain is like being a cult leader and I think he enjoyed
that more than the money.” At one point, Smietana sent me a voice message, asking,
“Why didn’t I just take the seventy million and just, like, run off?”

In the past several years, the S.E.C. has charged multiple I.C.O. operators with
offering unregistered securities and committing fraud, and the cases have resulted in
settlements that have ordered hundreds of millions of dollars returned to coinholders.
Last July, Jack Abramoff, who became famous, in 2006, for his role in a political-
lobbying scheme, pleaded guilty to committing securities fraud with a token sale. The
project, called AML BitCoin, published a white paper in 2017 that listed Smietana as
one of its software developers. (Smietana claims that he was included without his
consent.) In October, Spanish authorities arrested McAfee on an extradition request
from the U.S., where he faced charges of tax evasion and illegally promoting
cryptocurrencies. (In June, he was found dead in his jail cell, in an apparent suicide.)
In the past few years, cryptocurrency founders have tweaked their strategies; instead
of I.C.O.s, they now hold “initial exchange offerings” and “initial decentralized
exchange offerings.” Stark, the former S.E.C. official, told me that the new
terminology     is “designed   to create confusion and avoid S.E.C. scrutiny, but all of it is
the same.” David Silver, a lawyer who represents victims of cryptocurrency fraud,
hopes that, as the S.E.C. enforces securities laws, fraud in the market will decrease.
“Yesterday’s crypto heroes are tomorrow’s crypto felons,” he said. “The statute of
limitations is very long.”

This past January, a Telegram channel named after WallStreetBets, the Reddit forum
that supercharged GameStop’s stock price targeted Skycoin with a pumping
                                                  ,



campaign. As the pump spread to other social-media platforms, the price punched up
above five dollars per coin. The mood in the chat was ecstatic. “I’m frantically moving
funds around to buy more,” a user named Krzys P wrote. Smietana wrote, “MOON
MOON LAMBO MOON.” Stephens is now                       a software   developer at Salesforce, and
insists that he is done with cryptocurrency: “My personality is not well suited to
fraud, and mafioso, and everything that crypto is.” He recently returned with his wife
to Japan and sought out a new Shinto shrine where, he said, he wished for good
health.




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Morgen Peck is a freelance journalist who has covered cryptocurrency since 2012.


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